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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:21-cv-02774-RMR-KLM (consolidated with 1:21-cv-03215-KLM)

    JOHNNY R. SHAFER and JUSTIN COHEN,
    Individually and On Behalf of All Others
    Similarly Situated,

                                  Plaintiffs,

                      v.

    LIGHTNING EMOTORS, INC., TIMOTHY
    R. REESER, TERESA P. COVINGTON,
    GIGACQUISITIONS3 LLC, GIGCAPITAL
    GLOBAL, AVI S. KATZ, RALUCA DINU,
    NEIL MIOTTO, GIGFOUNDERS LLC,
    BRAD WEIGHTMAN, ANDREA BETTI-
    BERUTTO, PETER WANG, JOHN J.
    MIKULSKY, and ROBERT FENWICK-
    SMITH,

    Defendants.



    GIGACQUISITIONS3, LLC, GIGFOUNDERS, LLC, GIGCAPITAL GLOBAL, AVI S.
    KATZ, RALUCA DINU, NEIL MIOTTO, BRAD WEIGHTMAN, JOHN MIKULSKY,
       ANDREA BETTI-BERUTTO, AND PETER WANG’S MOTION TO DISMISS
   CONSOLIDATED COMPLAINT WITH INCORPORATED MEMORANDUM OF LAW
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          Defendants GigAcquisitions3, LLC, GigFounders, LLC, GigCapital Global, Avi S. Katz,

   Raluca Dinu, Neil Miotto, Brad Weightman, John Mikulsky, Andrea Betti-Berutto, and Peter

   Wang (collectively, the “Gig3 Defendants”) hereby move to dismiss Plaintiffs’ Consolidated

   Complaint for Violation of the Federal Securities Laws (“Complaint” or “Compl.”).

                                          INTRODUCTION

          Plaintiffs are investors in GigCapital3, Inc. (“Gig3”), a special purpose acquisition

   company (“SPAC”). As a SPAC, Gig3’s purpose was to raise investor capital, identify potential

   targets, and acquire a private company, which would become publicly traded as a result of the

   transaction. On May 6, 2021, Gig3 closed its business combination with Lightning Systems, Inc.,

   an electric-vehicle and powertrain manufacturer, emerging as Lightning eMotors, Inc.

   (“Lightning”). The Complaint is little more than a thinly veiled attack on SPAC transactions

   generally. (See, e.g., Compl. ¶¶48-49.) But the securities laws concern disclosure. They are not a

   mechanism for Plaintiffs to debate the policy merits of SPACs. Nor are generalized allegations

   about the financial incentives inherent in SPACs a substitute for allegations of fact showing the

   statements Plaintiffs now challenge were materially false or misleading when made and (where

   applicable) made negligently or fraudulently.

          The statements Plaintiffs challenge fall largely within three categories. First, Plaintiffs

   challenge statements regarding Gig3’s intent to employ a “Mentor-Investor” approach with its

   eventual target post-merger. (E.g., id. ¶32.) These forward-looking statements were accompanied

   by cautionary language that Gig3 could not ensure the involvement of its management post-

   merger. Under the Tenth Circuit’s “bespeaks caution” doctrine, they accordingly are not

   actionable. Additionally, there are no allegations of fact showing the Gig3 Defendants did not hold

   this intent at the time the statements were made. All Plaintiffs allege is that post-merger,

   Lightning’s board (which the Gig3 Defendants did not control) voted to shorten the terms of the
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   Gig3-affiliated persons and not to renominate them to the board. In contrast, and as Plaintiffs

   acknowledge, the Gig3 Defendants remained involved in other companies post-de-SPAC merger.

          Second, Plaintiffs challenge statements regarding Lightning Systems’ projections. As to

   the projections in the proxy soliciting stockholder votes on the merger, Plaintiffs must allege facts

   showing not only falsity, but also facts showing that each of the Gig3 Defendants acted negligently.

   The Complaint misses this mark. The March 2021 proxy disclosed that the projections were

   provided to Gig3 in November 2020 during merger negotiations; were revised downward based on

   feedback from Gig3; did not account for post-November events; and should not be relied on in

   voting on the merger. Plaintiffs do not allege that any of the Gig3 Defendants, who were outsiders

   to Lightning Systems, knew or should have known facts showing the projections were false.

          As for Lightning’s statements reaffirming the projections, to the extent the Gig3

   Defendants can be liable for these statements at all, Plaintiffs must plead not just negligence, but

   particularized facts giving rise to a “strong inference” of scienter. See Private Securities Litigation

   Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-4(b). Yet the Complaint does not identify a

   single piece of information in the Gig3 Defendants’ possession that contradicted the projections

   or any other facts giving rise to a strong inference of intent to defraud.

          Third, Plaintiffs challenge statements regarding Lightning’s supply chain and production

   capacity. But again, Plaintiffs do not allege facts, much less particularized facts, showing that any

   of the Gig3 Defendants made these statements negligently or fraudulently. Plaintiffs rely on

   “Confidential Witnesses,” but most left Lightning Systems months before Gig3 began negotiating

   a potential merger, and none is alleged to have provided any information to the Gig3 Defendants.

          The Complaint suffers from numerous other defects, as detailed below and in the Lightning

   Defendants’ motion to dismiss. All the claims against the Gig3 Defendants should be dismissed.



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                                      FACTUAL BACKGROUND1

           A.      The Parties

           Gig3 Entity Defendants. Gig3 was a Delaware corporation formed as a SPAC on February

   3, 2020. (Compl. ¶¶2, 43, 50; Ex. 1 at F-7.)2 On May 6, 2021, the business combination between

   Gig3 and Lightning Systems (the “Merger”) closed, and the combined business became known as

   Lightning eMotors, Inc. (Compl. ¶¶59, 85.) GigAcquisitions3, LLC served as Gig3’s sponsor (the

   “Sponsor”). As is customary with SPACs, before Gig3 went public, the Sponsor purchased

   5,735,000 “founder shares” for an aggregate price of $25,000. (Id. ¶¶5, 50; Ex. 1 at 13.)

   GigFounders, LLC is an affiliate of the Sponsor, (Ex. 1 at 73), and entered into an agreement with

   Gig3 pursuant to which Gig3 paid $20,000 per month for office space and general and

   administrative services (Compl. ¶35). Aside from this services agreement, the Complaint does not

   allege that GigFounders played any role in Gig3. The Complaint also names as a defendant

   “GigCapital Global.” (Id. ¶32.) No such entity exists. The only references to that name are in a

   website address for companies operating under the GigCapital trademark and in an investor

   presentation on a slide describing GigCapital, Inc. (“Gig1”), GigCapital2, Inc. (“Gig2”), and Gig3.

   (See id. ¶32 & n.2 (citing https://www.gigcapitalglobal.com); id. ¶33 (citing Ex. 2).)

           Individual Gig3 Defendants. Katz founded the Sponsor and was the Executive Chairman

   and CEO of Gig3. (Id. ¶24.) At the closing of the Merger, Katz became co-chairman of Lightning’s

   board of directors, a role he held until October 7, 2021. (Id.) Previously, Katz founded Gig1, which

   went public in December 2017 and completed a merger (or “de-SPAC”) with Kaleyra in October


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     For purposes of this motion to dismiss, the Court must accept well-pleaded factual allegations, but not
   conclusory allegations, as true. Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1088 (10th Cir. 2003). The
   Court also may consider documents referred to in the complaint if the documents are central to plaintiffs’
   claims and the parties do not dispute the documents’ authenticity. Hampton v. root9B Techs., Inc., 897 F.3d
   1291, 1297 (10th Cir. 2018).
   2
     “Ex. _” citations are to the exhibits attached to the accompanying Declaration of Melanie E. Walker.

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   2019. (Ex. 1 at 3.) Katz has served as Kaleyra’s board chairman since that time. (See Compl. ¶24;

   Ex. 3 at 74.) In March 2019, Katz founded Gig2, which went public in June 2019 and completed

   a de-SPAC merger in June 2021, emerging as UpHealth, Inc. (Ex. 1 at 3; Compl. ¶¶181-182.) Katz

   remains UpHealth’s Chairman. (Ex. 3 at 74-75.)

          Dinu served as a member of Gig3’s board before the Merger and remained on Lightning’s

   board from the closing until October 7, 2021. (Compl. ¶25.) She was chair of Kaleyra’s strategic

   advisory board and has served on the board of UpHealth since its de-SPAC. (See id.; Ex. 3 at 75.)

          Miotto was on Gig3’s board and on Lightning’s board until October 7, 2021. (Compl. ¶26.)

   He also is a director of Gig1 (now Kaleyra) and Gig2 (now UpHealth). (Id.; Ex. 3 at 76.)

          Weightman was the CFO of Gig3 until the close of the Merger. (Compl. ¶¶27, 85.)

          Mikulsky, Betti-Berutto, and Wang all were members of Gig3’s board until the Merger.

   (Id. ¶¶28-30, 85.) Betti-Berutto also was Gig3’s Hardware Chief Technical Officer, and Wang was

   its Software Chief Technical Officer. (Id. ¶¶30, 50; Ex. 1 at 99.) Weightman, Wang, and Betti-

   Berutto each were issued 5,000 insider shares in connection with Gig3’s IPO. (Id. ¶¶27, 29, 50;

   Ex. 1 at 14.) Mikulsky remained a Kaleyra director after its de-SPAC, (Ex. 1 at 98), and Wang was

   a member of Kaleyra’s strategic advisory board, (Compl. ¶30).

          Individual Lightning Defendants. Timothy Reeser was CEO of Lightning Systems (and

   later Lightning) during the relevant period and joined Lightning’s board upon the Merger. (Id.

   ¶38.) Robert Fenwick-Smith was Lightning Systems’ executive director before the Merger and

   served as its interim CFO from February to December 2020. (Id. ¶39.) Post-Merger, Fenwick-

   Smith was co-chairman of Lightning’s board. (Id.) Teresa Covington became senior vice president

   and CFO of Lightning Systems on January 4, 2021 and remained CFO after the Merger. (Id. ¶40.)

          B.     Gig3’s Initial Public Offering

          On May 18, 2020, the start of the putative Class Period, Gig3 completed its IPO of 20
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   million units at a price of $10 per unit. (Compl. ¶5.) Each unit consisted of one share of common

   stock and three-fourths of a warrant. (Id. ¶52; Ex. 1 at 116.) The founder shares and insider shares

   issued to Weightman, Betti-Berutto, and Wang were subject to “lock-up agreements,” which

   restricted their sale until (i) 12 months after an initial business combination closed, or (ii) after an

   initial business combination, the date on which the last sale price of the stock equaled or exceeded

   $12.50 per share. (Compl. ¶50.) Due to the lock-up, the founder shares and insider shares could

   not be sold at any time during the putative Class Period and remained restricted until May 6, 2022.

          The public units were offered pursuant to a May 13, 2020 Registration Statement and

   Prospectus. (Id. ¶51.) Gig3 explained that it was a SPAC formed for the purpose of effecting a

   business combination and that it would have 18 months from the closing of the IPO to complete

   its initial business combination. (Ex. 1 at 26.) If Gig3 could not complete a business combination

   in that time, it would return all IPO proceeds plus interest. (Compl. ¶54.) Public stockholders had

   the right to redeem their shares at the IPO price plus interest instead of holding them in the post-

   Merger entity, even if they voted in favor of the Merger. (Id.) In contrast, as the Registration

   Statement made clear, the Sponsor and other holders of private placement shares waived their

   redemption right, and “[a]ll of the founder shares and insider shares [would] be worthless [if Gig3

   did] not consummate [its] initial business combination.” (Ex. 1 at 46.)

          Gig3 also outlined its intentions with respect to potential merger targets. Plaintiffs focus

   on Gig3’s statements that it “intend[ed] to apply a unique ‘Mentor-Investor’ philosophy” and to

   partner with a target “over a 3 to 5 year horizon.” (Compl. ¶¶132, 206; see Ex. 1 at 2, 79-80.) But

   Gig3 warned it could not guarantee that any of its officers or directors would play a role in the

   post-transaction company. (See Ex. 1 at 43, 85.)

          C.      The Merger Negotiations and Announcement of the Deal

          After its IPO, Gig3 actively searched for prospective businesses or assets to acquire.
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   (Compl. ¶55.) In August 2020, BofA Securities, Inc., Lightning Systems’ financial advisor,

   approached Katz and Dinu about a potential acquisition. (Id.) Over the next several weeks, the

   parties discussed high-level deal terms, and Gig3 engaged in due diligence. (Id.)

          On December 10, 2020, Lightning Systems and Gig3 issued a joint press release

   announcing that they had entered into a definitive agreement for a business combination. (Id. ¶58;

   Ex. 4.) In addition to outlining the terms of the deal, the press release included Lightning Systems’

   2021 and 2022 revenue projections, stating, among other things, that Lightning Systems had

   “[h]igh revenue visibility with 100% of projected 2021 revenue of $63 million and 25% of 2022

   projected revenue of $354 million under firm purchase orders as of today.” (Compl. ¶134.) That

   same day, Dinu (on behalf of Gig3) and Reeser, Fenwick-Smith, and Lightning Systems’ Chief

   Operations Officer, Bill Kelley, also hosted an investor call. (Id.; Ex. 5.)

          In January 2021, Gig3 filed with the SEC two investor presentations. The first, which

   concerned Lightning Systems’ business, reiterated that the company had “100% of 2021 revenue

   forecast contracted as of Q3 2020” and addressed how Lightning Systems was handling the supply-

   chain issues caused by COVID-19. (Compl. ¶¶140-141; Ex. 6 at 8.) The second, which concerned

   GigCapital’s SPAC strategy, stated that GigCapital contemplated “[p]articipating actively at the

   company’s [board of directors] and [strategic advisory board]” and providing “Financing and

   M&A advisory for growth and consolidation.” (Compl. ¶144; Ex. 2 at 17.)

          D.      The Proxy and Stockholder Vote

          On December 31, 2020, Gig3 filed a preliminary proxy statement, inviting stockholders to

   vote on the Merger. At that time, Gig3 still had 11 months to complete a business combination.

   (Ex. 7 at 18.) On March 26, 2021, Gig3’s Proxy was declared effective by the SEC. (Compl. ¶66.)

          As relevant here, the Proxy disclosed a summary of financial projections Lightning

   Systems had provided Gig3 during due diligence. Lightning Systems provided initial projections
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   in September 2020, which the parties revised downward in the course of their discussions, arriving

   at the projections included in the Proxy in late November 2020. (Ex. 8 at 155.) The Proxy contained

   extensive cautionary language relating to the projections, including that stockholders should not

   rely on them in voting on the Merger and that they were being provided because they had been

   made available to Gig3 and its board. (See id. at 162-63.)

          The Proxy also included statements regarding Lightning Systems’ supply chain. Lightning

   Systems stated it “optimize[d] [its] supply chain for quality, reliability, and cost”; had “multiple

   suppliers for each core component of our vehicles”; and “built an extensive ecosystem of supply-

   chain partners and specialty vehicle partners which are instrumental to our growth.” (Compl. ¶148;

   Ex. 8 at 244-45, 259.) But it warned that “supply-chain disruptions from the COVID-19 pandemic”

   “may negatively impact revenue for 2021 as previously projected to GigCapital3.” (Ex. 8 at 261.)

          In addition, Gig3 expressed its belief that Lightning Systems could benefit from its Mentor-

   Investor approach, a sentiment repeated in a March 26, 2021 press release and its Form 10-K filed

   on March 31, 2021. (Compl. ¶¶150, 152, 154.) The Proxy also disclosed that during the

   negotiations, Gig3 had informed Lightning Systems that it “would require that Neil Miotto join

   the New Lightning Board as the co-chairman of the audit committee.” (Ex. 8 at 155.)

          E.      Lightning’s Post-Merger Performance

          The Merger was approved by Gig3’s stockholders on April 21, 2021, and the transaction

   closed on May 6, 2021. (Compl. ¶85.)

          Upon the closing, nine individuals were elected to Lightning’s board of directors, including

   Reeser, Fenwick-Smith, Katz, Dinu, and Miotto, with Katz and Dinu elected as Class III and Class

   II directors, respectively. (Ex. 9, Item 5.02.) Shortly after the closing, the Company announced

   that the board had voted to reclassify Katz and Dinu as Class I directors, requiring their re-election

   at the annual shareholder meeting in October, rather than the respective three- and two-year initial
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   terms they would have served as Class III and Class II directors. (Compl. ¶88.)

          On May 17, 2021, Lightning reported its first quarter 2021 results and provided an outlook

   for full year 2021. (Id. ¶89.) The company reported revenues of $4.6 million, an increase of 561%

   over the same period the prior year, and “[d]espite supply chain headwinds,” sales of 31 zero-

   emission commercial vehicles. (Ex. 10.) Lightning stated that it expected full year 2021 revenues

   to be in the range of $50 million to $60 million—down from the $63 million forecast in the Proxy.

   (Id. at 3.) It also disclosed that supply-chain delays had worsened and that it “expect[ed] supply

   chain delays will have a significant impact on 2021 revenue and possibly thereafter.” (Ex. 11 at 6

   of 22.) Lightning reiterated these views at an “Analyst Day” presentation on June 17, 2021.

   (Compl. ¶¶159-161.) A prospectus filed on July 8, 2021 provided an overview of Lightning’s

   business, including a discussion of its supply-chain partners. (Id. ¶163; see also Ex. 3 at 14

   (identifying dependency on suppliers as a “Risk Factor”).)

          Plaintiffs allege the “truth” was revealed on August 16, 2021, when Lightning announced

   its second-quarter results. (Compl. ¶101.) The company reported revenues of $5.9 million and a

   loss from operations of $17.9 million. (Id.; Ex. 12 at 2.) It also withdrew its prior guidance for

   2021, “[p]rimarily because of unexpected chassis production disruptions and Delta-variant

   surges.” (Compl. ¶102; Ex. 12 at 3.) Lightning’s Form 10-Q, filed the same day, disclosed that

   Katz, Dinu, and Miotto each had terms that would expire at the conclusion of the October 7, 2021

   annual meeting of shareholders and would “not be re-nominated to the Board.” (Ex. 13 at 82.)

                                            ARGUMENT

   I.     Count I Fails to State a Claim Under Section 11 of the 1933 Act

          Count I is based on allegedly false statements in Gig3’s May 13, 2020 IPO Registration

   Statement. To state a claim under Section 11, 15 U.S.C. § 77k(a), Plaintiffs “must identify (1) a

   misrepresentation or an omission, that is (2) material.” Slater v. A.G. Edwards & Sons, Inc., 719
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   F.3d 1190, 1196 (10th Cir. 2013). “Section 11 claims are governed by Rule 8’s notice pleading

   standard,” although the heightened pleading requirements of Rule 9(b) may apply to “claims

   premised on fraud.” Exkae Ltd. v. Domo, Inc., 2020 WL 7352735, at *5 (D. Utah Dec. 15, 2020)

   (citing Schwartz v. Celestial Seasonings, Inc., 124 F.3d 1246, 1251-52 (10th Cir. 1997)). Even

   under Rule 8, a complaint must be dismissed if it does not plead “enough facts to state a claim to

   relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also

   Khalik v. United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012). Here, Plaintiffs attempt to

   disavow that their Section 11 claim is based on fraud, (see Compl. ¶205), but their other allegations

   belie this assertion, (e.g., id. ¶¶4, 133, 172). Whether viewed under Rule 8 or Rule 9, however, the

   Complaint does not adequately allege a materially false statement in the Registration Statement.

          A.      The Statements Are Not Actionable Under the “Bespeaks Caution” Doctrine

          Plaintiffs contend that the following statements in the Registration Statement were false:

         “We intend to apply a unique ‘Mentor-Investor’ philosophy to partner with our targets
          where we will offer financial, operational and executive mentoring in order to accelerate
          their growth and development from a privately held entity to a publicly traded company.”

         “We believe that these relationships and our management team’s know-how present a
          significant opportunity to help drive strategic dialogue, access new customer relationships
          and achieve global ambitions following the completion of our initial business
          combination.”

         “We are seeking Mentor-Investor candidates to partner with over a 3 to 5 year horizon with
          a goal of reaching an enterprise value of over $1 billion.”

         “We will prioritize entities with well-established, proven and talented management teams
          that wish to continue to drive their companies to growth and are eager to succeed with
          support from an interactive and hands-on board of directors.”

   (Compl. ¶¶132, 206; Ex. 1 at 2, 79-80 (emphases added).)

          Each of these statements pertains to Gig3’s future intentions with respect to its merger

   target. The Tenth Circuit has adopted the “bespeaks caution” doctrine, under which forward-


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   looking statements such as this are “considered immaterial” when accompanied by “sufficiently

   specific risk disclosures or other cautionary statements concerning the subject matter of the

   statements at issue to nullify any potentially misleading effect.” Grossman v. Novell, Inc., 120 F.3d

   1112, 1120 (10th Cir. 1997). The doctrine “provides a mechanism by which a court can rule as a

   matter of law . . . that defendants’ forward-looking representations contained enough cautionary

   language or risk disclosure to protect the defendant against claims of securities fraud.” Id. (quoting

   In re Worlds of Wonder Sec. Litig., 35 F.3d 1407, 1413 (9th Cir. 1994)).

          Here, the challenged statements plainly were forward-looking: as the Complaint itself

   alleges, these statements “emphasized the Gig Defendants’ intent to stay significantly involved

   with whatever target company was chosen following the closing of an initial business

   combination.” (Compl. ¶132 (emphases added).) See In re Restoration Robotics, Inc. Sec. Litig.,

   417 F. Supp. 3d 1242, 1256 (N.D. Cal. 2019) (recognizing that “[a]n ‘intention’ to do something

   is forward-looking”); Scritchfield v. Paolo, 274 F. Supp. 2d 163, 178 (D.R.I. 2003) (verb “intend”

   serves as a disclaimer to investors not to rely on the statement as an assertion of present fact).

          Further, these statements were accompanied by specific risk disclosures and cautionary

   language. (Ex. 1 at 60, 85.) The Gig3 Defendants would not control the target post-Merger and

   could not guarantee that its management or board would support the Gig3 Defendants’ continued

   involvement. The Registration Statement previewed this possibility, warning that “[t]he future role

   of members of our management team, if any, in a post-transaction company cannot presently be

   stated with any certainty”; “members of our management team may not become a part of the post-

   transaction company’s management team or serve it in advisory positions”; and “it is also not

   certain whether one or more of our directors will remain associated with the post-transaction

   company in some capacity following our initial business combination.” (Id. at 85.) Given these



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   cautionary statements on the subject at issue, the statements are not actionable. See Grossman, 120

   F.3d at 1122 (affirming dismissal under “bespeaks caution” doctrine where registration statement

   contained risk disclosures on subject matter of forward-looking statements).3

          B.      Plaintiffs Do Not Plausibly Allege the Statements Were False

          Even if the statements were not subject to the “bespeaks caution” doctrine (they are), they

   still would not be actionable because the Complaint does not plead facts showing they were false

   when made—that is, that as of May 2020, the Gig3 Defendants did not actually intend to continue

   to be involved in the target post-Merger. According to Plaintiffs, what the Gig3 Defendants really

   intended was “to close an initial business combination, reap their profits,” and then move on to

   “their next SPAC venture.” (Compl. ¶133.) But the Complaint does not allege any facts supporting

   this bald assertion. Plaintiffs note that, shortly after the Merger closed, Katz’s and Dinu’s

   directorships were shortened to last only until October 7, 2021. (See id.) Yet that decision was

   made by Lightning’s full board, which Katz and Dinu did not control. There are no factual

   allegations that over a year earlier (when Lightning Systems was still unknown to them), they did

   not intend to stay involved with the eventual merger target for a longer period.

          Plaintiffs also allege that Lightning disclosed on August 10, 2021 that “none of the three

   GigCapital board members—Miotto, Dinu, or Katz—would stand for re-election,” implying

   Miotto, Dinu, and Katz independently made that decision. (Id.) In fact, Lightning disclosed that

   “the board of directors . . . voted” to adopt a slate with different people, so Katz, Dinu, and Miotto

   would “not be re-nominated to the Board.” (Ex. 13 at 82 (emphases added).) The Complaint is

   silent as to why the board voted this way. In any event, these events say nothing about the Gig3


   3
     The challenged statements—little more than “vague aspirations for the future”—also are nonactionable
   “puffery” because they are “too general to cause a reasonable investor to rely on [them] when making an
   investment decision.” See Grossman, 120 F.3d at 1119, 1121 (statements about merger presenting a
   “compelling set of opportunities” and about “leveraging our combined knowledge” were “puffery”).

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   Defendants’ intent 14 months earlier. See Rubinstein v. Credit Suisse Grp. AG, 457 F. Supp. 3d

   289, 295 (S.D.N.Y. 2020) (“A plaintiff may not plead a Section 11 claim ‘with the benefit of 20/20

   hindsight’ or base the claim on a ‘backward-looking assessment’ of the registration statement.”).

           Plaintiffs’ hypothesis is even more implausible given the Gig3 Defendants’ track record.

   The GigCapital team tried to ensure its post-Merger involvement through the election of Katz,

   Dinu, and Miotto on Lightning’s board. (Ex. 9, Item 5.02.) And as part of the deal, Gig3 negotiated

   that Lightning Systems accept Miotto as co-chairman of the audit committee after the Merger.

   (Ex. 8 at 155.) Further, the Gig3 Defendants have stayed involved with other targets post-de-SPAC

   for many years. (See supra p. 4.) These facts directly contradict Plaintiffs’ premise that the Gig3

   Defendants intended to exit at the earliest opportunity. Thus, under Rule 8, the Complaint’s

   allegations do not support a plausible inference that these statements were false when made.4

   II.     Count II Fails to State a Claim Under Section 15 of the 1933 Act

           Count II attempts to state a claim for “control person” liability under Section 15 of the 1933

   Act.5 To state a prima facie claim under Section 15, plaintiffs must plausibly allege (1) a primary

   violation of Section 11, and (2) “control over the primary violator by the alleged controlling

   person.” Medina v. Clovis Oncology, Inc., 215 F. Supp. 3d 1094, 1131 (D. Colo. 2017).

           Because the Complaint does not allege a primary violation of Section 11, Count II should

   be dismissed. See Hampton v. root9B Techs., Inc., 897 F.3d 1291, 1303 (10th Cir. 2018).



   4
     Additionally, Plaintiffs do not assert that the Gig3 Defendants did not actually believe the second
   statement above—“[w]e believe that these relationships and our management team’s know-how present a
   significant opportunity”)—and thus do not allege this statement of opinion was false. See Omnicare, Inc.
   v. Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 183-86 (2015); Nakkhumpun v.
   Taylor, 782 F.3d 1142, 1159 (10th Cir. 2015).
   5
     Under Section 15, a “controlling person” is jointly and severally liable with a “controlled person” who
   violates Section 11, “unless the controlling person had no knowledge of or reasonable ground to believe in
   the existence of the facts by reason of which the liability of the controlled person is alleged to exist.” 15
   U.S.C. § 77o(a); see also Maher v. Durango Metals, Inc., 144 F.3d 1302, 1304-05 (10th Cir. 1998).

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          Count II should be dismissed as to GigCapital Global for the additional reason that it is a

   brand name, not a “person” subject to liability under the securities laws. See 15 U.S.C. § 77b(a)(2).

   (See supra p. 3.) And Count II should be dismissed as to GigFounders for the additional reason

   that Plaintiffs do not allege facts showing that GigFounders controlled Gig3—that is, that it had

   the “power to direct or cause the direction of the management and policies” of Gig3. See Medina,

   215 F. Supp. 3d at 1133-34. GigFounders did not own any Gig3 shares, (see Ex. 1 at 109), and

   while it had “an agreement for general administrative services and office space with GigCapital3,”

   (Compl. ¶35), such an agreement does not suffice to establish “power to control.” See Maher, 144

   F.3d at 1305-06 (finding agreement insufficient for “control”).

   III.   Count III Fails to State a Claim Under Section 14(a) of the 1934 Act

          Count III purports to assert a claim under Section 14(a) of the 1934 Act, 15 U.S.C. § 78n(a),

   and Rule 14a-9(a) thereunder, which prohibit false or misleading statements of material fact in a

   proxy statement. To state a Section 14(a) claim, a plaintiff must allege: “(1) that the proxy

   contained a material misrepresentation or omission; (2) that the defendant was at least negligent,

   and (3) that the proxy was the essential link in completing the transaction in question.” Britton v.

   Parker, 2007 WL 2871003, at *8 (D. Colo. Sept. 26, 2007) (internal quotation marks omitted).

          Section 14(a) claims are subject to the PSLRA, 15 U.S.C. §78u-4(b), which “was intended

   to eliminate some of the abuses experienced in private securities litigation,” including by imposing

   heightened pleading standards on plaintiffs. City of Philadelphia v. Fleming Cos., 264 F.3d 1245,

   1258-59 (10th Cir. 2001). This means that Section 14 plaintiffs must identify “each statement

   alleged to have been misleading, the reason why each statement was misleading, and all relevant

   facts supporting that conclusion.” Kuebler v. Vectren Corp., 13 F.4th 631, 638 (7th Cir. 2021).

   Further, courts have held that “a Section 14(a) plaintiff must plead with particularity facts that give

   rise to a strong inference of negligence.” See Knollenberg v. Harmonic, Inc., 152 F. App’x 674,
                                                     13
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   683 (9th Cir. 2005).6 And the PSLRA requires a complaint to “address negligence as to each

   Defendant (i.e., ‘lumping together’ of Defendants will not be accepted).” In re Ocera

   Therapeutics, Inc. Sec. Litig., 2018 WL 7019481, at *11 (N.D. Cal. Oct. 16, 2018).

           Plaintiffs’ Section 14(a) claims are based on the financial projections in the Proxy,

   statements about Lightning Systems’ supply chain and production capacity, and statements about

   Gig3’s belief that Lightning Systems would benefit from its “Mentor-Investor” approach. (Compl.

   ¶¶146-150, 223, 225.) For the reasons explained in the concurrently filed motion to dismiss of the

   Lightning Defendants, hereby incorporated by reference, the Complaint does not adequately allege

   that the financial projections or statements regarding Lightning Systems’ supply chain or

   production capacity were actionably false. Further, as discussed below, the Complaint does not

   allege that the Gig3 Defendants acted negligently as to any of these statements, or that the

   statements about Gig3’s Mentor-Investor approach were false or negligently made.

           A.      Plaintiffs Do Not Allege Negligence by Each Gig3 Defendant as to Lightning
                   Systems’ Projections or Supply Chain or Production Capacity Statements

           The Complaint is devoid of factual allegations that any of the Gig3 Defendants was

   negligent as to Lightning Systems’ financial projections in the Proxy or the statements about its

   supply chain or production capacity. Relying on their CWs, Plaintiffs contend “Defendants” knew

   or should have known these statements were false. (Compl. ¶151(d).) But the Complaint does not

   allege that the CWs provided any information to any Gig3 Defendant. (See id. ¶¶110-131.)7

           The mere fact that Gig3 had engaged in due diligence likewise does not provide a sufficient

   basis to infer knowledge of the details of Lightning Systems’ business and establish negligence.


   6
     Compare Beck v. Dobrowski, 559 F.3d 680, 682 (7th Cir. 2009). This Court need not decide whether the
   “strong inference” pleading standard applies to allegations of negligence because, as explained below, the
   Complaint fails to allege negligence as to the Gig3 Defendants even under the Rule 8 plausibility standard.
   7
     In fact, half of the CWs (CW-2, CW-3, and CW-5) left Lightning Systems in “spring 2020” and therefore
   had been gone from the company for several months before the parties even began negotiations.

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   See, e.g., In re ZAGG Inc. S’holder Derivative Action, 826 F.3d 1222, 1234 (10th Cir. 2016)

   (refusing to infer knowledge from membership on a committee responsible for underlying issue);

   Britton v. Parker, 2009 WL 3158133, at *11 (D. Colo. Sept. 23, 2009) (dismissing Section 14(a)

   claim “in the absence of facts that would specifically demonstrate” why each defendant knew or

   should have known of alleged scheme). In fact, the Proxy disclosed that Lightning Systems

   “lowered” its projections “following the discussions with Drs. Dinu and Katz.” (Ex. 8 at 155.) This

   suggests the opposite of negligence: to the extent Gig3 discovered facts during due diligence that

   it believed called Lightning Systems management’s projections into question, it encouraged

   Lightning Systems management to revise its analysis.

          Plaintiffs also note that the Proxy was issued “just days before the end of Lighting Systems’

   first financial quarter,” (Compl. ¶151(e)), but the Complaint does not allege the Gig3 Defendants

   had real-time access to Lightning Systems’ financial results. In any event, the projections were

   accompanied by a clear disclaimer that they were “provided to [Gig3] on November 29, 2020” and

   expressly disclaimed incorporating information obtained after that date. (Ex. 8 at 163-64.)

          B.      Plaintiffs Do Not State Viable Claims as to Mentor-Investor Statements

          Plaintiffs do not adequately allege falsity or negligence as to the statements in the Proxy

   about Gig3’s Mentor-Investor approach. Gig3 noted that its Registration Statement had “stated

   that we are seeking Mentor-Investor candidates to partner with over a 3 to 5 year horizon with a

   goal of reaching an enterprise value of over $1 billion.” (Compl. ¶150.) Gig3 then added:

         “[w]e believe that through our Mentor-Investment approach, we will be able to work with
          Lightning Systems to look for and successfully exploit opportunities for value creation”;

         “Lightning Systems’ intent stated to us in diligence . . . is well suited to the assistance that
          we provide”; and

         Lightning Systems has “substantial growth opportunity in front of it that we believe can
          benefit from our Mentor-Investment approach.”

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   (Id.) As with the challenged statements in the Registration Statement, Plaintiffs contend these

   statements were false by pointing to Katz, Dinu, and Miotto’s short tenures on Lightning’s board

   post-Merger. (Id. ¶151.) These allegations do not suffice to establish material falsity.

           For starters, these statements are nonactionable “puffery.” (See supra p. 11, n.3.) In re

   Level 3 Commc’ns, Inc. Sec. Litig., 667 F.3d 1331, 1339 (10th Cir. 2012) (statement that “this year

   is really focused on integration and getting synergies from all those acquisitions” and “general,

   forward-looking expressions of confidence in future integration progress” nonactionable puffery);

   Grossman, 120 F.3d at 1119, 1121 (statements that merger presented a “compelling set of

   opportunities” and “we are leveraging our combined knowledge” nonactionable puffery).

           Moreover, these statements merely expressed Gig3’s opinion that Lightning could benefit

   from its mentorship. The Complaint nowhere alleges that the Gig3 Defendants did not actually

   hold that belief or did not intend to implement that approach post-Merger (subject, of course, to

   Lightning’s willingness to accept its mentorship). See Omnicare, 575 U.S. at 184-86 (opinion is

   false or misleading only if speaker did not believe it or if it did not “fairly align[] with the

   information in the issuer’s possession at the time”).8

           For similar reasons, the Complaint fails to adequately allege negligence. There are no

   allegations of fact that any of the Gig3 Defendants knew or should have known as of the Proxy

   that the Lightning board would vote to reclassify Katz’s and Dinu’s directorships shortly after the

   Merger and vote just a few months later not to renominate Katz, Dinu, and Miotto for the board.

           C.      Count III Should Be Dismissed as to Defendant Weightman

           Count III should be dismissed as to Weightman for the additional reason that he did not


   8
     As for the Gig3 board’s opinion that, “based on a number of factors, . . . the terms of the Business
   Combination were fair to and in the best interests of the Company and its stockholders,” (Compl. ¶226),
   Plaintiffs do not allege how or why this opinion was false. See Omnicare, 575 U.S. at 184-86; Lane v. Page,
   581 F. Supp. 2d 1094, 1126 (D.N.M. 2008) (dismissing Section 14(a) claim based on identical statement).

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   “solicit or to permit the use of his name to solicit” the Proxy. 15 U.S.C. § 78n; Britton, 2009 WL

   3158133, at *6 (dismissing Section 14(a) claim against CFO because he was “not alleged to have

   been responsible for either of the challenged Proxy Statements”).

   IV.     Count IV Fails to State a Claim Under Section 20(a) of the 1934 Act

           Plaintiffs advance a Section 20(a) control person claim against Defendants based on the

   alleged Section 14(a) violation. (Compl. ¶¶232-235.)9 Under Section 20(a), a “plaintiff must

   establish (1) a primary violation of the securities laws and (2) ‘control’ over the primary violator

   by the alleged controlling person.” Maher, 144 F.3d at 1305. Count IV should be dismissed

   because the Complaint fails to plead a primary violation of Section 14(a). Additionally, GigCapital

   Global and GigFounders are not controlling persons. (See supra pp. 12-13.)

   V.      Count V Fails to State a Claim Under Section 10(b) of the 1934 Act

           To state a claim under Section 10(b) of the 1934 Act and Rule 10b-5 thereunder, a plaintiff

   must allege that (i) the defendant made a false or misleading statement of material fact; (ii) with

   scienter; (iii) in connection with the purchase or sale of a security; (iv) upon which the plaintiff

   relied; (v) suffering an economic loss; and (vi) the material misrepresentation was the cause of the

   plaintiff’s loss. Anderson v. Spirit Aerosys. Holdings, Inc., 827 F.3d 1229, 1236-37 & n.4 (10th

   Cir. 2016). Further, a plaintiff must meet the PSLRA’s stringent pleading standards for securities

   fraud actions in general and for scienter allegations in particular. See City of Philadelphia, 264

   F.3d at 1258; Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 321-22 (2007).

           As noted, the PSLRA requires a complaint to “specify each statement alleged to have been

   misleading” and further specify “the reason or reasons why the statement is misleading.” Tellabs,


   9
    Section 20(a) of the 1934 Act makes a “controlling person” jointly and severally liable with a “controlled
   person” for primary violations of the 1934 Act, including Sections 10(b) and 14(a), “unless the controlling
   person acted in good faith and did not directly or indirectly induce the act or acts constituting the violation
   or cause of action.” 15 U.S.C. § 78t(a); see also Maher, 144 F.3d at 1304-05.

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   551 U.S. at 321 (quoting 15 U.S.C. § 78u-4(b)(1)); see also Pirraglia v. Novell, Inc., 339 F.3d

   1182, 1188 (10th Cir. 2003). Additionally, the PSLRA requires a complaint to “state with

   particularity facts giving rise to a strong inference” of scienter—that is, a strong inference of

   “intent to deceive, manipulate, or defraud” investors. 15 U.S.C. § 78u-4(b)(2); City of

   Philadelphia, 264 F.3d at 1262. “[T]he inference of scienter must be more than merely

   ‘reasonable’ or ‘permissible’—it must be cogent and compelling.” Weinstein v. McClendon, 757

   F.3d 1110, 1113 (10th Cir. 2014) (quoting Tellabs, 551 U.S. at 324). Moreover, not only must any

   inference of scienter be “strong,” it also must be “at least as compelling as any opposing inference.”

   Anderson, 827 F.3d at 1237 (quoting Tellabs, 551 U.S. at 314). This means courts must weigh

   competing inferences of scienter at the pleading stage and determine their relative strength.

   Tellabs, 551 U.S. at 324; see also Anderson, 827 F.3d at 1248 (courts “must ‘compare the parties’

   dual explanations’” and “decide which is more cogent and compelling”). As Count V fails to meet

   these stringent requirements, it should be dismissed.

          A.      Plaintiffs Fail to State a Claim Based on the Registration Statement

          As explained above, the Complaint fails to allege that any of the challenged statements in

   Gig3’s IPO Registration Statement—all of which relate to Gig3’s Mentor-Investor approach—was

   materially false or misleading at the time it was made. (See supra pp. 11-12.)

          The Complaint also fails to allege any facts—much less particularized facts—giving rise

   to a strong inference of scienter. It simply recounts that, five days after the Merger, Lightning

   announced that Katz and Dinu had been reclassified as Class I directors and asserts that, on August

   16, 2021, Lightning disclosed that Katz, Dinu, and Miotto “would not be running for re-election.”

   (Compl. ¶171.) This allegation misstates the August 16 disclosure, which actually said that Katz,

   Dinu, and Miotto “will not be re-nominated to the Board.” (Ex. 13 at 82 (emphasis added).) These

   post-Merger decisions by Lightning’s board—which the board could make irrespective of Katz,
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   Dinu, or Miotto’s wishes or intentions—do not support a strong inference that the Gig3 Defendants

   intended to defraud investors by describing their Mentor-Investor approach months earlier, before

   Lightning Systems was even a target.

          This is particularly true given that Gig3’s experience with Lightning stands in sharp

   contrast to the Gig3 Individual Defendants’ long-term involvement in other companies after de-

   SPAC mergers. (See supra p. 4.) The only inference to be drawn from these facts—and certainly

   the more compelling inference—is the innocent one: the Gig3 Defendants intended to stay

   involved in the company, but Lightning decided to go in a different direction after the Merger. See

   Anderson, 827 F.3d at 1237 (affirming dismissal for failure to adequately allege scienter: “Our

   task is to determine whether the inference arising from the plaintiffs’ scienter allegations is cogent

   and compelling when compared to the defendants’ suggested inference.”).

          While this is true as to all the Gig3 Defendants, it is even more so as to GigCapital Global,

   GigFounders, Weightman, Betti-Berutto, Wang, and Mikulsky. Plaintiffs must allege a “strong

   inference” of scienter with respect to each defendant. See Zhang v. Lifevantage Corp., 2017 WL

   2599883, at *10 (D. Utah June 15, 2017); Owens v. Jastrow, 789 F.3d 529, 535 (5th Cir. 2015).

   The Complaint does not even attempt to allege that each of these Defendants knew in May 2020

   that Katz, Dinu, and Miotto supposedly did not intend to remain involved post-Merger.

          B.      Plaintiffs Fail to State a Claim Based on the December 10, 2020 Statements

          Plaintiffs challenge statements in a December 10, 2020 press release and analyst call later

   that day. As to the press release, Plaintiffs challenge statements regarding Lightning’s “high

   revenue visibility” underlying its revenue projections, its production capacity projections, and a

   statement attributed to Reeser that “[t]he capital raised in this transaction will enable Lightning to

   accelerate its growth plans and fulfill significant demand from our customers.” (Compl. ¶¶134-

   136.) As set forth in the Lightning Defendants’ motion to dismiss, hereby incorporated by
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   reference, the Complaint does not adequately allege these statements were false.

           Further, the Complaint fails to allege particularized facts giving rise to a strong inference

   of scienter as to each of the Gig3 Defendants as to these statements about Lightning Systems’ pre-

   Merger business. Plaintiffs rely primarily on their CWs. But even assuming that the CW accounts

   sufficed to show that Lightning Systems’ management knew its revenue and production projections

   were not achievable (which they do not), none of the CWs is alleged to have had any interactions

   with, or provided any information whatsoever to, any of the Gig3 Defendants. (Compl. ¶¶110-

   131.) See Ellis, 2018 WL 1583837, at *12 (dismissing claims for failure to allege scienter where

   “none of the confidential witnesses is alleged to have had any contact or communicated with either

   Individual Defendant regarding anything alleged in the [complaint]”).

           Plaintiffs imply that the Gig3 Defendants should have known Lightning Systems’

   projections were not achievable because they performed due diligence. (Compl. ¶176.) But the

   Complaint does not allege a single piece of information obtained in due diligence that revealed the

   projections to be false. “[T]he Tenth Circuit has rejected the notion that knowledge may be imputed

   to a high-ranking corporate officer because of his or her position alone.” Ellis, 2018 WL 1583837,

   at *5; see also City of Philadelphia, 264 F.3d at 1264. The requested inference is even more

   attenuated here, as the Gig3 Defendants were outsiders to Lightning Systems. Moreover, the fact

   that Gig3 caused Lightning Systems to revise its projections downward (Ex. 8 at 155) contradicts

   the notion that the Gig3 Defendants intended to defraud investors with inflated projections.10

           As to the analyst call, Plaintiffs challenge certain statements made by Reeser, Fenwick-



   10
      Plaintiffs point to the fact that Gig3 did not obtain more private-investment-in-public-equity (“PIPE”)
   financing for the Merger as evidence of scienter. (Compl. ¶¶177-178.) But all the facts relating to
   Defendants’ efforts to get PIPE financing were disclosed in detail in the Proxy. (See, e.g., Ex. 8 at 143-44,
   148-53, 168-69.) This shows the opposite of an intent to defraud. Fan v. StoneMor Partners LP, 927 F.3d
   710, 718 (3d Cir. 2019) (no intent to defraud where “investors were appraised of the relevant information”).

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   Smith, and Dinu. (Compl. ¶¶135-138.) First, the Gig3 Defendants cannot be held liable for the

   statements made by Reeser and Fenwick-Smith, and only Dinu can be held liable for her own

   statements. Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142 (2011) (only

   the maker of a statement—the person with “ultimate authority over the statement, including its

   content and whether and how to communicate it”—can be liable for that statement).

           Second, Dinu’s forward-looking statement about Gig3’s intent to seek opportunities to

   partner with companies “for the long-term” is not actionable. Jedrzejczyk v. Skillz Inc., 2022 WL

   2441563, at *5 (N.D. Cal. July 5, 2022) (statements that were “merely alternative ways of declaring

   or reaffirming” future objective not actionable under PSLRA safe harbor for forward-looking

   statements) (quoting Wochos v. Tesla Inc., 985 F.3d 1180, 1192 (9th Cir. 2021))).11 As for Dinu’s

   statement that Lightning Systems had “the best revenue visibility” and could “quickly scale

   revenues,” (Compl. ¶136), again, there are no particularized facts showing that Dinu did not

   believe these things to be true based on information obtained from Lightning Systems during due

   diligence, and thus no allegations sufficient to plead falsity or scienter.12

           C.      Plaintiffs Fail to State a Claim Based on the January 4, 2021 Slide Deck

           On January 4, 2021, Gig3 filed with the SEC a slide deck titled “Lightning: Opportunity

   Overview.” (Ex. 6.) Plaintiffs challenge statements that: (i) Lightning Systems had “Robust

   Contracts with Financial Visibility,” including “100% of 2021 revenue forecast contracted as of

   Q3 2020”; (ii) Lightning had “added and built additional redundancies into the supply chain . . . to

   mitigate supply-chain risk”; and (iii) listing “Amazon” on a slide titled “Select Key Customers.”


   11
     Nor do Plaintiffs adequately allege falsity or scienter as to this statement. (See supra pp. 11-12, 19.)
   12
     Plaintiffs allege that Dinu stated Lightning Systems had capacity to build 1,000 vehicles per year, while
   the Proxy said that Lightning only had capacity to build 500 vehicles. (Compl. ¶¶136, 139(d).) Even if Dinu
   was mistaken, the Complaint does not allege a plausible inference, never mind a strong inference, of
   scienter. Dinu had nothing to gain by misleading investors about Lightning Systems’ production capacity
   in December 2020 and then revealing the true facts in March 2021, before the Merger vote.

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   (Compl. ¶¶140-142 (emphases omitted).) In contending these statements were knowingly false,

   Plaintiffs rely on their CWs. (Id. ¶143.) But even if the CW allegations were sufficient to show

   falsity and scienter for the Lightning Defendants, they say nothing about what was known to the

   Gig3 Defendants and do not support any inference of scienter. See Ellis, 2018 WL 1583837, at *5.

          D.      Plaintiffs Fail to State a Claim Based on the January 12, 2021 Slide Deck

          Plaintiffs attack statements in a January 12, 2021 slide deck regarding GigCapital’s

   Mentor-Investor strategy. (Compl. ¶¶144-145.) The Lightning board’s decisions post-Merger shed

   no light on the Gig3 Defendants’ intent, as part of their investment strategy, to “participat[e]

   actively” in target company boards, “[p]rovide continuous Financing and M&A advisory,” or

   “provide continued support and guidance.” (See supra pp. 11-12.) Their continued involvement in

   other companies dispels any inference of falsity or fraudulent intent. (See supra pp. 4, 12.)

          E.      Plaintiffs Fail to State a Claim Based on the March 2021 Proxy

          Plaintiffs do not adequately allege that the challenged statements in the Proxy were false.

   (See supra p. 14.) Nor do they adequately allege scienter. Besides the deficient allegations about

   board tenure, due diligence, and CWs, Plaintiffs allege the Gig3 Defendants had a financial motive

   to have the Merger approved. (E.g., Compl. ¶¶47-48.) But as Plaintiffs concede, these motives are

   inherent in all SPAC transactions. (Id. ¶49.) “[G]eneralized motives shared by all companies” are

   insufficient for pleading scienter. City of Philadelphia, 264 F.3d at 1269. In the context of SPACs,

   “if scienter could be pleaded on that basis alone, virtually every [de-SPAC] company in the United

   States that experiences a downturn in stock price could be forced to defend securities fraud

   actions.” Id. (quotation omitted); see also Novak v. Kasaks, 997 F. Supp. 425, 430 n.5 (S.D.N.Y.

   1998) (alleged motive to raise capital insufficient to allege scienter).

          Further, the inference of scienter is implausible. When the proposed merger was announced

   on December 10, 2020, Gig3 still had 11 months to complete a business combination. (Compl.

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   ¶54; Ex. 7 at 18.) Thus, it was not under time pressure to close and could continue to explore other

   targets if it believed Lightning Systems would not be a good investment. Indeed, given the lock-

   up agreement, the Gig3 Defendants had a significant personal financial incentive to ensure that any

   merger would be successful in the long term. Courts have held in analogous circumstances that an

   executive’s investment in the company’s stock undermines any claimed inference of scienter. See,

   e.g., City of Philadelphia, 264 F.3d at 1270; Malin v. XL Capital Ltd., 499 F. Supp. 2d 117, 153

   (D. Conn. 2007), aff’d, 312 F. App’x 400 (2d Cir. 2009).

          F.      Plaintiffs Fail to State a Claim Based on the March 26, 2021 Press Release

          As to the March 26, 2021 press release, Plaintiff challenge one statement by Reeser and

   one statement by Dinu: “The GigCapital team stays true to our Mentor Investor mission partnering

   with the exceptional management team of Lightning through the IPO and beyond, as we continue

   to build together a solid company to last.” (Compl. ¶152; Ex. 14.)13 As explained, the Complaint

   does not allege facts showing that Dinu’s statement of puffery is actionable or false. Nor does the

   Complaint allege particularized facts giving rise to a strong inference of scienter. Indeed,

   Plaintiffs’ scienter theory is nonsensical. By their account, the Gig3 Defendants intended to “use

   the additional credibility gained from having successfully completed another ‘de-SPAC’

   transaction to attract more investors into their next SPAC venture.” (Compl. ¶153(a).) But the fact

   that Katz, Dinu, and Miotto were on Lightning’ board for only a few months was disclosed to the

   market. If the Mentor-Investor approach was important to potential investors in GigCapital

   SPACs, this would undermine their ability to attract future investors.

          G.      Plaintiffs Fail to State a Claim Based on Gig3’s 2020 Form 10-K

          Plaintiffs attack a similar statement in Gig3’s Form 10-K filed on March 31, 2021 regarding


   13
     As noted, the Gig3 Defendants cannot be held liable for statements made by Reeser, and only Dinu can
   be held liable for statements attributed to her. (See supra p. 21.)

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   the Gig3 Defendants’ forward-looking intent to apply the Mentor-Investor approach. (Compl.

   ¶154.) The Section 10(b) claim as to this statement fails for the reasons discussed.

          H.      Plaintiffs Fail to State a Claim Based on the Post-Merger Statements

          Plaintiffs also challenge several statements made post-Merger. GigCapital Global,

   GigFounders, Weightman, Betti-Berutto, Wang, and Mikulsky did not have any involvement with

   Lightning post-Merger; therefore, they cannot be liable for any of these statements.

          Although Katz, Dinu, and Miotto served on Lightning’ board, they too cannot be liable for

   statements made by (and specifically attributed to) Lightning management. See Janus, 564 U.S. at

   142. With respect to the group-published statements at issue, which concern Lightning’s ability to

   manage supply-chain issues (see Compl. ¶¶156, 163, 164), Plaintiffs fail to plead a strong inference

   of scienter as to Katz, Dinu, or Miotto. See Croker v. Carrier Access Corp., 2006 WL 2035366, at

   *10 (D. Colo. July 18, 2006) (demonstration of scienter for group published statements requires

   proof that each individual defendant was aware of the purportedly contrary facts).14

          Again, Plaintiffs rely on their CWs. (Compl. ¶¶155, 165.) But the CWs still at Lightning

   in May and July 2021—CW-6 and possibly CW-1 (the Complaint ambiguously alleges that CW-

   1 remained at the company until “mid-2021”)—were, respectively, a “senior technician” and a

   “field service technician.” (Id. ¶¶110, 130.) Neither is alleged to have reported directly to

   Lightning senior management, much less to have provided information to Lightning’s outside

   directors. See Ellis, 2018 WL 1583837, at *9 (finding confidential witness allegations insufficient

   to allege a strong inference of scienter where they “require the reader to assume that this

   information somehow made its way to [the individual defendants]”). Further, the Complaint does

   not even attempt to allege any motive to defraud on the part of Katz, Dinu, or Miotto at this time


   14
      For the reasons set forth in the Lightning Defendants’ motion to dismiss, hereby incorporated by
   reference, Plaintiffs do not adequately allege the challenged post-Merger statements were false.

                                                   24
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   post-Merger; nor could it, given the lock-up agreement. (Compl. ¶50.)

   VI.    Count VI Fails to State a Claim Under Section 20(a) of the 1934 Act

          Under Count VI, Plaintiffs assert that all Defendants (except Lightning) are secondarily

   liable as controlling persons for the alleged Section 10(b) violations. (Compl. ¶¶249-257.) The

   claim fails absent primary violations. Moreover, GigCapital and GigFounders are not liable under

   Section 20(a) for the reasons discussed. (See supra pp. 13, 17.)

          Additionally, Plaintiffs fail to plead facts showing that the Gig3 Defendants controlled any

   of the statements about Lightning Systems. There are no factual allegations that, either before or

   after the Merger, the Gig3 Defendants “individually exerted control or influence over the day-to-

   day operations” of the company so as to control the accuracy of the information provided by

   Lightning about its business. Adams, 340 F.3d at 1108. After the Merger, Katz, Dinu, and Miotto

   (the only Gig3 Defendants involved at all with Lightning) were outside directors with no

   operational, financial, or managerial role. (See Compl. ¶¶27-30.) See Adams, 340 F.3d at 1108

   (“The assertion that a person was a member of a corporation’s board of directors, without any

   allegation that the person individually exerted control or influence over the day-to-day operations

   of the company, does not suffice to support an allegation that the person is a control person within

   the meaning of the Exchange Act.”).

                                            CONCLUSION

          For the foregoing reasons, the Complaint should be dismissed as to the Gig3 Defendants.




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    Dated: July 13, 2022                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
          I hereby certify that, on July 13, 2022, I electronically filed the foregoing Motion to

   Dismiss Plaintiffs’ Consolidated Complaint with Incorporated Memorandum of Law with the

   Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

   counsel of record.


                                                     /s/ David Freeburg
                                                     David Freeburg
